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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA

In re Subpoena to Non-Party Lindsey
O. Graham in his official capacity as
United States Senator,                      Civil Action No.
                                            1:22-cv-03027-LMM
in the matter of:

Special Purpose Grand Jury, Fulton
County Superior Court Case No.
2022-EX-000024.


 SUPPLEMENTAL MOTION FOR PARTIAL QUASHAL ORDERED BY
     THIS COURT (DOC. 38), BY SENATOR LINDSEY GRAHAM

      As ordered by this Court, United States Senator Lindsey Graham hereby

moves for an order quashing, partially quashing, or modifying the subpoena issued

to him by the Fulton County Special Purpose Grand Jury on July 26, 2022 (the

“Subpoena”). A United States Senator’s investigation into a State’s absentee-ballot

process and alleged voting irregularities in the State—about topics on which

legislation could be had (and in fact was had), and with a vote on certifying the

election under the Electoral Count Act certainly impending—is quintessentially

protected legislative activity. Investigations, formal and informal, have been an

integral part of representative government from our Founding. See Trump v. Mazars

USA, LLP, 140 S. Ct. 2019, 2031 (2020). “The power to investigate [thus] plainly
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falls within th[e] definition” of ‘Speech or Debate.’” Eastland v. U.S. Servicemen’s

Fund, 421 U.S. 491, 504 (1975). Thus, as set forth in the accompanying

memorandum of law and in prior briefing, the Court should quash the Subpoena in

its entirety because (among other reasons) any questioning of Senator Graham by

the Special Purpose Grand Jury is barred by the Constitution’s Speech or Debate

Clause which specifically provides that a Senator “shall not be questioned” about

his “Speech or Debate.”

      At a minimum, and as also explained in the accompanying memorandum and

prior briefing, the Court should order partial quashal or modification of the

Subpoena—quashing or modifying it to the extent it covers any lines of inquiry the

Court deems subject to the Speech or Debate Clause. Any partial quashal should

extend to Senator Graham’s investigatory activities and the motives behind them,

including (at the very least) Senator Graham’s telephone calls to the extent they

pertain to the 2020 election and his motive for making them, along with any

associated topics—e.g., the “circumstances surrounding” the decision to make them,

the logistics of setting them up, communications with others “involved in [their]

planning and execution,” and any follow-on communications and public statements.

Doc. 2-3 (Petition) ¶ 3. Senator Graham further requests that this Court grant any

further relief that the Court deems just and proper.

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Date: August 24, 2022             Respectfully submitted,

                                  /s/ Brian C. Lea
DONALD F. MCGAHN II               BRIAN C. LEA
 Admitted pro hac vice            Georgia Bar No. 213529
ROBERT LUTHER III                 JONES DAY
 Admitted pro hac vice            1221 Peachtree Street, N.E.,
JONES DAY                         Suite 400
51 Louisiana Ave., NW             Atlanta, Georgia 30361
Washington, DC 20001              (404) 521-3939
(202) 879-3939                    blea@jonesday.com
dmcgahn@jonesday.com
rluther@jonesday.com              E. BART DANIEL
                                   Admitted pro hac vice
                                  MARSHALL T. AUSTIN
                                   Application for admission
                                   pro hac vice pending
                                  NELSON MULLINS RILEY &
                                   SCARBOROUGH LLP
                                  151 Meeting Street,
                                  Suite 600
                                  Charleston, SC 29401
                                  (843) 853-5200
                                  bart.daniel@nelsonmullins.com
                                  matt.austin@nelsonmullins.com


             Counsel for United States Senator Lindsey Graham




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            CERTIFICATE OF COMPLIANCE WITH LR 5.1(B)

      I hereby certify that this brief has been prepared with one of the font, point,

and style selections approved by the Court in LR 5.1(B)—namely, double-spaced in

14-point Times New Roman font.

Date: August 24, 2022                  /s/ Brian C. Lea
                                       BRIAN C. LEA
                                       Georgia Bar No. 213529
                                       JONES DAY
                                       1221 Peachtree Street, N.E.,
                                       Suite 400
                                       Atlanta, Georgia 30361
                                       (404) 521-3939
                                       blea@jonesday.com

                                       Counsel for United States Senator Lindsey
                                       Graham




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                         CERTIFICATE OF SERVICE

      I hereby certify that on August 24, 2022, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system. Notice of this

filing will be sent to all attorneys of record by operation of the Court’s electronic

filing system.


Date: August 24, 2022                  /s/ Brian C. Lea
                                       BRIAN C. LEA
                                       Georgia Bar No. 213529
                                       JONES DAY
                                       1221 Peachtree Street, N.E.,
                                       Suite 400
                                       Atlanta, Georgia 30361
                                       (404) 521-3939
                                       blea@jonesday.com

                                       Counsel for United States Senator Lindsey
                                       Graham




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